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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                            Case No. 18-cr-00437-SI-1
                                   8                    Plaintiff,                            ORDER DENYING SECOND MOTION
                                                                                              FOR COMPASSIONATE RELEASE
                                   9             v.                                           AND GRANTING MOTION TO SEAL
                                  10     BRIAN GUTIERREZ VILLASENOR,                          Re: Dkt. Nos. 61, 69, 71

                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Brian Gutierrez Villansenor has filed a second motion for compassionate release.

                                  14   Villasenor’s counsel filed a supplement to the motion on February 10, 2023, and the government

                                  15   filed an opposition on March 15, 2023. Villasenor did not file a reply. For the reasons set forth

                                  16   below, the Court DENIES the motion.

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                                  18                                             DISCUSSION

                                  19          Defendant Brian Gutierrez Villasenor is 31 years old and currently serving a 120-month

                                  20   sentence for his convictions on one count of possession with intent to distribute 50 grams or more

                                  21   of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(vii), and one count of

                                  22   transporting funds to promote unlawful activity, in violation of 21 U.S.C. § 1956(a)(2)(A).

                                  23   Villasenor was distributing cocaine and methamphetamine for a dark web site for at least four years,

                                  24   and when he was arrested officers found six firearms that belonged to him. At the time of his arrest,

                                  25   Villasenor was living with his mother and grandmother. Villasenor is incarcerated at FCI Lompoc

                                  26   and his projected release date is February 13, 2027.

                                  27          In an order filed December 1, 2020, the Court denied Villasenor’s first motion for

                                  28   compassionate release without prejudice to renewal in the event his situation “significantly
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                                   1   deteriorates.” Dkt. No. 60 at 1.

                                   2          Villasenor has filed a second motion for compassionate release, asserting that his obesity

                                   3   and asthma continue to place him at higher risk of complications in the event he contracts COVID-

                                   4   19, and that he needs a different type of inhaler than he currently has to treat his asthma. Villasenor

                                   5   requests that he be released to live with his mother and grandmother, and he states that if released

                                   6   he would take care of his mother and grandmother and also get a job so he could help his family

                                   7   financially.

                                   8          The government opposes Villasenor’s motion on numerous grounds. The government

                                   9   argues that Villasenor’s situation has actually improved since 2020 because he has received the

                                  10   COVID-19 vaccine, the Bureau of Prisons is effectively managing the pandemic at its facilities, and

                                  11   there are currently no COVID cases at FCI Lompoc. The government also argues that the factors

                                  12   under 18 U.S.C. § 3553(a) weigh against compassionate release because Villasenor has served less
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                                  13   than half of his sentence for his convictions based on his participation in complex drug distribution

                                  14   scheme, and the government emphasizes the fact that Villasenor possessed numerous dangerous

                                  15   firearms at the time of his arrest. The government also notes that since the denial of Villasenor’s

                                  16   last compassionate release motion, he has incurred two significant disciplinary sanctions for being

                                  17   caught with a cell phone in September 2021 and using marijuana/THC in October 2022. Paulson

                                  18   Decl. Ex. 2 (Dkt. No. 71-2).1

                                  19          For all of the reasons stated in the Court’s prior order, the Court finds that compassionate

                                  20   release is not appropriate, including that requiring Villasenor to serve less than half of his sentence

                                  21   does not satisfy “the need for the sentence imposed . . . to reflect the seriousness of the offense, to

                                  22   promote respect for the law, and to provide just punishment for the crime,” nor would it “afford

                                  23   adequate deterrence to criminal conduct.” 18 U.S.C. § 3553(a)(2)(A)-(C). In addition, the concerns

                                  24   presented by the COVID-19 pandemic have significantly abated since 2020 due to the availability

                                  25   of vaccines and boosters and the improved conditions at FCI Lompoc. While Villasenor asserts that

                                  26   he needs a different type of inhaler for his asthma, the record shows that he has received treatment

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                                                   The Court GRANTS the government’s request to seal Villasenor’s medical and
                                       disciplinary records.
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                                   1   for his asthma, and the issues he raises with regard to his asthma do not rise to the level of meriting

                                   2   compassionate release. Finally, the Court is quite troubled by Villasenor’s recent and serious

                                   3   disciplinary infractions, which raise concerns about his ability to perform well if he were granted

                                   4   early release.

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                                   6          IT IS SO ORDERED.

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                                   8   Dated: April 7, 2023                          ______________________________________
                                                                                       SUSAN ILLSTON
                                   9                                                   United States District Judge
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Northern District of California
 United States District Court




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